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                           UNITED STATES COURT OF APPEALS
                                FOR THE THIRD CIRCUIT
                                   ________________

                                          No. 19-2809
                                       ________________
                 SAM HARGROVE; ANDRE HALL; MARCO EUSEBIO,
                  individually and on behalf of all others similarly situated,
                                                     Appellants

                                                v.

                                        SLEEPY'S LLC

                                                v.

      I STEALTH LLC; EUSEBIO'S TRUCKING CORP.; CURVA TRUCKING LLC
                             ________________

                           Appeal from the United States District Court
                                   for the District of New Jersey
                             (D.C. Civil Action No. 3-10-cv-01138)
                           District Judge: Honorable Peter G. Sheridan
                                        ________________
                                      Argued May 27, 2020

              Before: AMBRO, HARDIMAN, and RESTREPO, Circuit Judges

                                         JUDGMENT

         This cause came on to be heard on the record before the United States District
  Court for the District of New Jersey and was argued on May 27, 2020.
         On consideration whereof, IT IS ORDERED AND ADJUDGED by this Court that
  the judgment of the District Court entered August 1, 2019, is hereby reversed and
  remanded. Costs taxed against Appellee. All of the above in accordance with the
  opinion of this Court.
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                                             ATTEST:
                                             s/Patricia S. Dodszuweit
                                             Clerk
  Dated: September 9, 2020
          Case: 19-2809 Document:
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                                           OFFICE OF THE CLERK

  PATRICIA S. DODSZUWEIT           UNITED STATES COURT OF APPEALS       TELEPHONE
                                      21400 UNITED STATES COURTHOUSE   215-597-2995
           CLERK                             601 MARKET STREET
                                         PHILADELPHIA, PA 19106-1790
                                      Website: www.ca3.uscourts.gov

                                           September 9, 2020




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  RE: Sam Hargrove, et al v. Sleepys LLC
  Case Number: 19-2809
  District Court Case Number: 3-10-cv-01138

                                       ENTRY OF JUDGMENT

  Today, September 09, 2020 the Court entered its judgment in the above-captioned matter
  pursuant to Fed. R. App. P. 36.

  If you wish to seek review of the Court's decision, you may file a petition for rehearing. The
  procedures for filing a petition for rehearing are set forth in Fed. R. App. P. 35 and 40, 3rd Cir.
  LAR 35 and 40, and summarized below.

  Time for Filing:
  14 days after entry of judgment.
  45 days after entry of judgment in a civil case if the United States is a party.

  Form Limits:
  3900 words if produced by a computer, with a certificate of compliance pursuant to Fed. R. App.
          Case: 19-2809 Document:
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                           Document        Filed309/09/20
                                                     Date Filed:
                                                           Page09/09/2020
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  P. 32(g).
  15 pages if hand or type written.

  Attachments:
  A copy of the panel's opinion and judgment only.
  Certificate of service.
  Certificate of compliance if petition is produced by a computer.
  No other attachments are permitted without first obtaining leave from the Court.

  Unless the petition specifies that the petition seeks only panel rehearing, the petition will be
  construed as requesting both panel and en banc rehearing. Pursuant to Fed. R. App. P. 35(b)(3),
  if separate petitions for panel rehearing and rehearing en banc are submitted, they will be treated
  as a single document and will be subject to the form limits as set forth in Fed. R. App. P.
  35(b)(2). If only panel rehearing is sought, the Court's rules do not provide for the subsequent
  filing of a petition for rehearing en banc in the event that the petition seeking only panel
  rehearing is denied.

  A party who is entitled to costs pursuant to Fed.R.App.P. 39 must file an itemized and verified
  bill of costs within 14 days from the entry of judgment. The bill of costs must be submitted on
  the proper form which is available on the court's website.

  A mandate will be issued at the appropriate time in accordance with the Fed. R. App. P. 41.

  Please consult the Rules of the Supreme Court of the United States regarding the timing and
  requirements for filing a petition for writ of certiorari.

  Very truly yours,


  s/Patricia S. Dodszuweit,
  Clerk


  By: Stephanie
  Case Manager
  267-299-4926
